
644 S.E.2d 363 (2007)
STATE of North Carolina
v.
Michael Darrell CRAWFORD.
No. 574P06.
Supreme Court of North Carolina.
March 8, 2007.
Don Willey, for Crawford.
Angel Gray, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 7th day of November 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
